
251 Pa. Superior Ct. 626 (1977)
381 A.2d 913
Pincus, et ux., Appellants,
v.
The Mutual Assurance Company, et al.
Tuchinsky, et ux., Appellants,
v.
The Mutual Assurance Company, et al.
Superior Court of Pennsylvania.
Argued September 12, 1977.
November 30, 1977.
Pace Reich *627 and Carl Weiss, with them Modell, Pincus, Hahn &amp; Reich, for appellants.
Harvey Bartle, III, with him Dechert, Price &amp; Rhoads, for appellees.
Decree affirmed.
SPAETH, J., did not participate in the consideration or decision of this case.
